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10
11                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
12
13   ALU BANARJI, individually and on           )   Case No. '14CV2981 GPC JLB
     behalf of all others similarly situated,   )
14
                                                )   CLASS ACTION
15   Plaintiff,                                 )
                                                )   COMPLAINT FOR VIOLATIONS
16
            vs.                                 )   OF:
17                                              )
     PROFESSIONAL PLACEMENT                     )      1.   NEGLIGENT VIOLATIONS
18                                                          OF THE TELEPHONE
     SERVICES, LLC,                             )           CONSUMER PROTECTION
19                                              )           ACT [47 U.S.C. §227 ET
20   Defendants.                                )           SEQ.]
                                                       2.   WILLFUL VIOLATIONS
                                                )           OF THE TELEPHONE
21
                                                )           CONSUMER PROTECTION
22                                              )           ACT [47 U.S.C. §227 ET
                                                            SEQ.]
23                                              )
                                                )
24                                                  DEMAND FOR JURY TRIAL
                                                )
25                                              )
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27
28



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 1         Plaintiff, Alu Banarji (“Plaintiff”), individually and on behalf of all others
 2   similarly situated, alleges the following upon information and belief based upon
 3   personal knowledge:
 4                                 NATURE OF THE CASE
 5         1.        Plaintiff brings this action individually and on behalf of all others
 6   similarly situated seeking damages and any other available legal or equitable
 7   remedies resulting from the illegal actions of Professional Placement Services,
 8   LLC, (“Defendant”), in negligently, knowingly, and/or willfully contacting
 9   Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone Consumer
10   Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading Plaintiff’s
11   privacy.
12                                JURISDICTION & VENUE
13         2.        Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
14   a resident of California, seeks relief on behalf of a Class, which will result in at
15   least one class member belonging to a different state than that of Defendant, a
16   company with its principal place of business and State of Incorporation in
17   Wisconsin state. Plaintiff also seeks up to $1,500.00 in damages for each call in
18   violation of the TCPA, which, when aggregated among a proposed class in the
19   thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
20   Therefore, both diversity jurisdiction and the damages threshold under the Class
21   Action Fairness Act of 2005 (“CAFA”) are present, and this Court has
22   jurisdiction.
23         3.         Venue is proper in the United States District Court for the Southern
24   District of California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a)
25   because Defendant does business within the state of California and the county of
26   San Diego.
27                                          PARTIES
28         4.        Plaintiff, Alu Banarji (“Plaintiff”), is a natural person residing in El


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 1   Cajon, California and is a “person” as defined by 47 U.S.C. § 153 (10).
 2         5.     Defendant, Professional Placement Services, LLC (“Defendant”), is
 3   in the business of     purchasing consumer debts and collecting thereon from
 4   debtors, and is a “person” as defined by 47 U.S.C. § 153 (10).
 5                               FACTUAL ALLEGATIONS
 6         8.     Beginning in or around December of 2014, Defendant contacted
 7   Plaintiff on her cellular telephone, ending in -0861, in an attempt to collect an
 8   alleged outstanding debt.
 9         9.     Plaintiff is informed, and thereon believes that she does not owe the
10   alleged debt which Defendant is attempting to collect.
11         10.    Defendant used an “automatic telephone dialing system”, as defined
12   by 47 U.S.C. § 227(a)(1) to place its calls to Plaintiff.
13         11.    Defendant’s calls constituted calls that were not for emergency
14   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
15         12.    Defendant’s calls were placed to telephone number assigned to a
16   cellular telephone service for which Plaintiff incurs a charge for incoming calls
17   pursuant to 47 U.S.C. § 227(b)(1).
18         15.    Plaintiff does not owe the alleged debt Defendant is calling her about
19   and has never provided any personal information, including her cellular telephone
20   number, to Defendant for any purpose whatsoever.            Accordingly, Defendant
21   never received Plaintiff’s “prior express consent” to receive calls using an
22   automatic telephone dialing system or an artificial or prerecorded voice on her
23   cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
24                                CLASS ALLEGATIONS
25         16.    Plaintiff brings this action on behalf of herself and all others
26   similarly situated, as a member of the proposed class (hereafter “The Class”)
27   defined as follows:
28
                  All persons within the United States who received any

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 1                collection telephone calls from Defendant to said
                  person’s cellular telephone made through the use of any
 2                automatic telephone dialing system or prerecorded
 3                voice, and such person had not previously consented to
                  receiving such calls within the four years prior to the
 4
                  filing of this Complaint.
 5
 6         17.    Plaintiff represents, and is a member of, The Class, consisting of All
 7   persons within the United States who received any collection telephone calls from
 8   Defendant to said person’s cellular telephone made through the use of any
 9   automatic telephone dialing system and such person had not previously not
10   provided their cellular telephone number to Defendant within the four years prior
11   to the filing of this Complaint.
12         18.    Defendant, its employees and agents are excluded from The Class.
13   Plaintiff does not know the number of members in The Class, but believes the
14   Class members number in the thousands, if not more. Thus, this matter should be
15   certified as a Class Action to assist in the expeditious litigation of the matter.
16         19.    The Class is so numerous that the individual joinder of all of its
17   members is impractical. While the exact number and identities of The Class
18   members are unknown to Plaintiff at this time and can only be ascertained
19   through appropriate discovery, Plaintiff is informed and believes and thereon
20   alleges that The Class includes thousands of members. Plaintiff alleges that The
21   Class members may be ascertained by the records maintained by Defendant.
22         20.    Plaintiff and members of The Class were harmed by the acts of
23   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
24   and Class members via their cellular telephones thereby causing Plaintiff and
25   Class members to incur certain charges or reduced telephone time for which
26   Plaintiff and Class members had previously paid by having to retrieve or
27   administer messages left by Defendant during those illegal calls, and invading the
28   privacy of said Plaintiff and Class members.


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 1         21.    Common questions of fact and law exist as to all members of The
 2   Class which predominate over any questions affecting only individual members
 3   of The Class. These common legal and factual questions, which do not vary
 4   between Class members, and which may be determined without reference to the
 5   individual circumstances of any Class members, include, but are not limited to,
 6   the following:
 7                a.     Whether, within the four years prior to the filing of this
 8                       Complaint, Defendant made any collection call (other than a
 9                       call made for emergency purposes or made with the prior
10                       express consent of the called party) to a Class member using
11                       any automatic telephone dialing system to any telephone
12                       number assigned to a cellular telephone service;
13                b.     Whether Plaintiff and the Class members were damages
14                       thereby, and the extent of damages for such violation; and
15                c.     Whether Defendant should be enjoined from engaging in such
16                       conduct in the future.
17         22.    As a person that received numerous collection calls from Defendant
18   using an automatic telephone dialing system, without Plaintiff’s prior express
19   consent, Plaintiff is asserting claims that are typical of The Class.
20         23.    Plaintiff will fairly and adequately protect the interests of the
21   members of The Class.        Plaintiff has retained attorneys experienced in the
22   prosecution of class actions.
23         24.    A class action is superior to other available methods of fair and
24   efficient adjudication of this controversy, since individual litigation of the claims
25   of all Class members is impracticable. Even if every Class member could afford
26   individual litigation, the court system could not. It would be unduly burdensome
27   to the courts in which individual litigation of numerous issues would proceed.
28   Individualized litigation would also present the potential for varying, inconsistent,


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 1   or contradictory judgments and would magnify the delay and expense to all
 2   parties and to the court system resulting from multiple trials of the same complex
 3   factual issues. By contrast, the conduct of this action as a class action presents
 4   fewer management difficulties, conserves the resources of the parties and of the
 5   court system, and protects the rights of each Class member.
 6         25.    The prosecution of separate actions by individual Class members
 7   would create a risk of adjudications with respect to them that would, as a practical
 8   matter, be dispositive of the interests of the other Class members not parties to
 9   such adjudications or that would substantially impair or impede the ability of such
10   non-party Class members to protect their interests.
11         26.    Defendant has acted or refused to act in respects generally applicable
12   to The Class, thereby making appropriate final and injunctive relief with regard to
13   the members of the California Class as a whole.
14                             FIRST CAUSE OF ACTION
15          Negligent Violations of the Telephone Consumer Protection Act
16                                 47 U.S.C. §227 et seq.
17         27.    Plaintiff repeats and incorporates by reference into this cause of
18   action the allegations set forth above at Paragraphs 1-26.
19         28.    The foregoing acts and omissions of Defendant constitute numerous
20   and multiple negligent violations of the TCPA, including but not limited to each
21   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
22         29.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
23   seq., Plaintiff and the Class Members are entitled an award of $500.00 in
24   statutory damages, for each and every violation, pursuant to 47 U.S.C. §
25   227(b)(3)(B).
26         30.    Plaintiff and the Class members are also entitled to and seek
27   injunctive relief prohibiting such conduct in the future.
28



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 2
 3                           SECOND CAUSE OF ACTION
 4    Knowing and/or Willful Violations of the Telephone Consumer Protection
 5                                           Act
 6                                 47 U.S.C. §227 et seq.
 7          31.    Plaintiff repeats and incorporates by reference into this cause of
 8   action the allegations set forth above at Paragraphs 1-30.
 9          32.    The foregoing acts and omissions of Defendant constitute numerous
10   and multiple knowing and/or willful violations of the TCPA, including but not
11   limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et
12   seq.
13          33.    As a result of Defendant’s knowing and/or willful violations of 47
14   U.S.C. § 227 et seq., Plaintiff and the Class members are entitled an award of
15   $1,500.00 in statutory damages, for each and every violation, pursuant to 47
16   U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
17          34.    Plaintiff and the Class members are also entitled to and seek
18   injunctive relief prohibiting such conduct in the future.
19
20                                PRAYER FOR RELIEF
21   WHEREFORE, Plaintiff requests judgment against Defendant for the following:
22
23                             FIRST CAUSE OF ACTION
24          Negligent Violations of the Telephone Consumer Protection Act
25                                 47 U.S.C. §227 et seq.
26                x As a result of Defendant’s negligent violations of 47 U.S.C. §
27                 227(b)(1), Plaintiff and the Class members are entitled to and
28                 request $500 in statutory damages, for each and every violation,


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 1              pursuant to 47 U.S.C. § 227(b)(3)(B).
 2             x Any and all other relief that the Court deems just and proper.
 3
 4
 5                         SECOND CAUSE OF ACTION
 6    Knowing and/or Willful Violations of the Telephone Consumer Protection
 7                                          Act
 8                               47 U.S.C. §227 et seq.
 9             x As a result of Defendant’s willful and/or knowing violations of 47
10              U.S.C. § 227(b)(1), Plaintiff and the Class members are entitled to
11              and request treble damages, as provided by statute, up to $1,500, for
12              each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and
13              47 U.S.C. § 227(b)(3)(C).
14             x Any and all other relief that the Court deems just and proper.
15
16        Respectfully Submitted this 19th Day of December, 2014.
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